          Case 8:09-bk-06495-MGW          Doc 482      Filed 09/07/10   Page 1 of 3



                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISON

IN RE:
                                                   (Jointly Administered)
SUMMIT VIEW, LLC,                                  CASE NO. 8:09-bk-6495-MGW

ASHLEY GLEN, LLC,                                  CASE NO. 8:09-bk-13611-MGW

RIVERWOOD, LLC                                     CASE NO. 8:09-bk-13612-MGW

     Debtors.
____________________________/

    OBJECTION TO MOTION TO APPROVE COMPROMISE OF CONTROVERSY

            Florida      Design        Consultants,      Inc.    (“FDC”),       a    creditor

and party in interest, hereby objects to the Motion to Approve

Compromise       of    Controversy        by     and   between     Summit       View,     LLC;

Riverwood, LLC; JES Properties, Inc., Douglas J. Weiland and WDG

Construction,         Inc.;     Including       the    Purchase    of    WDG     Claim      and

Subcontractor          Claims     of     Tampa     Pavement      Constructors,            Inc.,

Creekside        Nursery,     Inc.      and     APAC-Southeast,         Inc.    and       other

Related Relief (Doc. 467 - the “Motion”), and states:

            1.        FDC has an allowed secured claim in the Summit View

case in the amount of $317,441.57 based on a claim of lien

against     Summit       View’s      real      property.        Such     lien       has    been

affirmed by the confirmed plan in this case.

            2.        The compromise outlined in the Motion essentially

permits an insider of the Debtors to become the largest creditor

in the case other than Mercantile Bank.                       During the chapter 11,
          Case 8:09-bk-06495-MGW          Doc 482     Filed 09/07/10    Page 2 of 3



there     was    never     any    indication          that   the       insider     (Douglas

Weiland)    had     the    ability    or     willingness        to     basically       infuse

$200,000     into      Summit     View.          If   the    prospect       of    such       an

arrangement had been disclosed to the creditors, then the plan

of    reorganization        may     have     looked      substantially           different.

Under the plan as confirmed, insider JES Properties, Inc. waived

any     distribution        under     the        plan.         Any      newly      proposed

distribution to an insider under the auspices of a “compromise”

should be carefully scrutinized.

            3.    In      essence,   the     proposed        compromise      is    a    post-

confirmation        modification      to     the      confirmed        plan.          Such     a

modification      must      be    reviewed       under    Section       1127(b)       of     the

Bankruptcy Code after the proper disclosures to creditors.

            4.    In      any    event,    the      proposed     compromise        or      plan

modification must be without prejudice to the rights and claims

of FDC.

            Wherefore, FDC objects to the Motion.




                                           __/s/ Michael C. Markham____
                                           Michael C. Markham
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                                           Ruppel, & Burns, LLP
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                                             2
           Case 8:09-bk-06495-MGW   Doc 482   Filed 09/07/10   Page 3 of 3




                          CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true copy of the foregoing has been

furnished     electronically    upon   all    registered       CM/ECF   users   in

this case, on this 7th day of September, 2010.



                                           _/s/ Michael C. Markham______
                                           Michael C. Markham
537476




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